
Compas Medical, P.C., as Assignee of ERILMA DESRUISSEAUX, Appellant,
againstUnited Services Automobile Association, Respondent.



Appeal from an order of the Civil Court of the City of New York, Kings County (Steven Z. Mostofsky, J.), entered January 10, 2014. The order denied plaintiff's motion for summary judgment and, in effect, granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
For the reasons stated in Compas Med., P.C. v United Servs. Auto. Assn. (51 Misc 3d 135[A], 2016 NY Slip Op 50559[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2016]), the order is affirmed.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 05, 2016










